          Case 2:08-cr-00169-WBS Document 63 Filed 07/20/09 Page 1 of 2


 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   JASON HITT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2751
 5
 6
                       IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,     )        Case No. CR-S-08-0169 EJG
                                   )
11                  Plaintiff,     )              STIPULATION AND ORDER
                                   )             CONTINUING JUDGMENT AND
12        v.                       )             SENTENCE FOR DEFENDANT
                                   )              MICHAEL PAUL MARTINEZ
13   MICHAEL PAUL MARTINEZ, et al.,)
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Plaintiff, United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, and defendant Michael Paul
18   MARTINEZ, by his counsel, Linda Harter, Esq., hereby stipulate and
19   agree that the currently-set judgment and sentencing date of July 17,
20   2009, at 10:00 a.m. should be continued to August 14, 2009, at
21   10:00 a.m.   The continuance is based upon the need for the government
22   to finish preparation of a motion for mitigation of the defendant’s
23   sentencing exposure in this case.
24   Dated: July 16, 2009                   /s/Jason Hitt
                                            JASON HITT
25                                          Assistant U.S. Attorney
26   Dated: July 16, 2009                   /s/Jason Hitt
                                            Authorized to sign for Ms. Harter
27                                          on 07-16-09
                                            LINDA HARTER, Esq.
28                                          Counsel for MARTINEZ
          Case 2:08-cr-00169-WBS Document 63 Filed 07/20/09 Page 2 of 2


 1                                      ORDER
 2        Based upon the representations by counsel and the stipulation of
 3   the parties, IT IS HEREBY ORDERED that the judgement and sentencing
 4   date of July 17, 2009, at 10:00 a.m., is CONTINUED to August 14,
 5   2009, at 10:00 a.m.
 6
 7        IT IS SO ORDERED.
 8   July 16, 2009
                                      /s/ Edward J. Garcia
 9                                    EDWARD J. GARCIA
                                      UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
